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                     IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
PETROCHOICE HOLDINGS, INC.           :
            Plaintiff,               :
                                     :    CIVIL ACTION
      v.                             :
                                     :    NO.: 19-6152
FRANCIS S. OROBONO, JR.              :
            Defendant.               :
                                     :

                       DEFENDANT’S RESPONSE TO PLAINTIFF’S
                         STATEMENT OF UNDISPUTED FACTS

       Defendant, Francis S. Orobono, Jr. (“Defendant” or “Orobono”), by and through his

attorneys, Lamb McErlane PC, hereby file this Response to Plaintiff’s Statement of Undisputed

Facts in accordance with the numbered paragraphs as follows:

       1.      Admitted.

       2.      Admitted.

       3.      It is admitted that the language set forth herein represents Plaintiff’s

characterization of its business and operation.

       4.      It is admitted that the language set forth herein represents Plaintiff’s

characterization of its business and operation.

       5.      It is admitted that the language set forth herein represents Plaintiff’s

characterization of its business and operation.

       6.      It is admitted that the language set forth herein represents Plaintiff’s

characterization of its business and operation.

       7.      It is admitted that the language set forth herein represents Plaintiff’s

characterization of its business and operation.
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          8.    It is admitted that the language set forth herein represents Plaintiff’s

characterization of its business and operation.

          9.    Admitted.

          10.   It is admitted that Defendant Orobono executed the Employment and Restrictive

Covenant Agreement on March 31, 2008.

          11.   Denied as this is a conclusion of law, not a statement of fact.

          12.   Admitted in part, denied in part. It is admitted only that Defendant was Regional

Vice President of Sales responsible for the northeast region. Any allegation to the contrary is

denied.

          13.   This is a conclusion of law, not a statement of fact. Plaintiff has the burden to prove

that the information to which Defendant had access is confidential, proprietary, and/or a trade

secret. MORE

          14.   It is admitted only that Defendant accessed and used information belonging to or

made available by PetroChoice. Plaintiff has the burden to prove that the information to which

Defendant had access is confidential, proprietary, and/or a trade secret. This conclusion of law is

not undisputed. Moreover, “extensive amounts of Petrochoice’s confidential and proprietary

information” is vague, overbroad, and relative in nature. Accordingly this is denied.

          15.   This is a conclusion of law, not a statement of fact. Plaintiff has the burden to prove

that the information at issue is confidential, proprietary, and/or a trade secret. Plaintiff also has the

burden to prove Defendant’s duty.

          16.   Denied as this is a conclusion of law, not a statement of fact. The language set forth

in the Employment Contract speaks for itself.
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       17.    It is admitted that the language set forth in this paragraph is included in the

Employment Agreement.

       18.    It is admitted that the language set forth in this paragraph is included in the

Employment Agreement.

       19.    It is admitted that the language set forth in this paragraph is included in the

Employment Agreement.

       20.    It is admitted that the language set forth in this paragraph is included in the

Employment Agreement.

       21.    It is admitted that the language set forth in this paragraph is included in the

Employment Agreement.

       22.    It is admitted that the language set forth in this paragraph is included in the

Employment Agreement.

       23.    It is admitted that the language set forth in this paragraph is included in the

Employment Agreement.

       24.    Denied as this is a conclusion of law and Plaintiff’s interpretation of the

Employment Agreement, not a statement of fact.

       25.    Denied as this is a conclusion of law and Plaintiff’s interpretation of the Securities

Rollover Agreement, not a statement of fact.

       26.    It is admitted that Defendant executed the Securities Rollover Agreement on or

about August 21, 2015.

       27.    Denied as this is a conclusion of law and Plaintiff’s interpretation of the Securities

Rollover Agreement, not a statement of fact.
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       28.     Denied as this is a conclusion of law and Plaintiff’s interpretation of the Securities

Rollover Agreement, not a statement of fact.

       29.     Denied as this is a conclusion of law and Plaintiff’s interpretation of the Securities

Rollover Agreement, not a statement of fact.

       30.     It is admitted that the quoted language is set forth in the Securities Rollover

Agreement. The remainder of this paragraph is denied as this is a conclusion of law and Plaintiff’s

interpretation of the Securities Rollover Agreement, not a statement of fact.

       31.     It is admitted that the language set forth in this paragraph is included in the

Securities Rollover Agreement.

       32.     It is admitted that the language set forth in this paragraph is included in the

Securities Rollover Agreement.

       33.     It is admitted that the language set forth in this paragraph is included in the

Securities Rollover Agreement.

       34.     It is admitted that the language set forth in this paragraph is included in the

Securities Rollover Agreement.

       35.     It is admitted that Defendant executed Management Equity Agreement. The

remainder of this paragraph is denied as this is a conclusion of law and Plaintiff’s interpretation of

the Management Equity Agreement, not a statement of fact.

       36.     Denied as this is a conclusion of law and Plaintiff’s interpretation of the

Management Equity Agreement, not a statement of fact.

       37.     Denied as this is a conclusion of law, not a statement of fact.

       38.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.
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       39.     Admitted. To the extent this statement constitutes a conclusion of law that the

restrictive covenant is enforceable, such allegation is denied.

       40.     Denied as this is a conclusion of law and Plaintiff’s interpretation of the

Management Equity Agreement, not a statement of fact.

       41.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       42.     Denied. This is not an accurate recitation of the language in the Management

Equity Agreement.

       43.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       44.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       45.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       46.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       47.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       48.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       49.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.
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       50.     It is admitted only that the language quoted in this Paragraph is set forth in the

Management Equity Agreement.

       51.     Admitted.

       52.     Admitted.

       53.     Denied as this paragraph is a conclusion of law and Plaintiff’s interpretation of the

Severance Agreement, not a statement of fact.

       54.     Denied as this paragraph is a conclusion of law and Plaintiff’s interpretation of the

Severance Agreement, not a statement of fact.

       55.     It is admitted only that the language quoted in this Paragraph is set forth in the

Severance Agreement.

       56.     It is admitted only that the language quoted in this Paragraph is set forth in the

Severance Agreement. The remainder of this paragraph is denied as it contains a conclusion of law

and Plaintiff’s interpretation of the Severance Agreement, not a statement of fact.

       57.     It is admitted that the language quoted in this paragraph is set forth in the Severance

Agreement.

       58.     It is admitted that Defendant executed the Consulting Agreement. The language set

forth in the Consulting Agreement speaks for itself and Plaintiff’s characterization of the

Consulting Agreement is denied.

       59.     Denied as this paragraph is a conclusion of law and Plaintiff’s interpretation of the

Consulting Agreement, not a statement of fact.

       60.     It is admitted that the language quoted in this paragraph is set forth in the Consulting

Agreement.
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       61.     It is admitted that Defendant began his position as Vice President of Wholesale for

JWT in October of 2018. The remainder of this paragraph is denied as it is a conclusion of law.

       62.     Denied. To the contrary, Defendant had very little direct customer contact. Dep. Tr.

Orobono p. 71: 16-18.

       63.     Denied. This is not a complete and accurate description of Defendant’s role as

Defendant never received a written job description, Dep. Tr. Orobono p. 71: 18-23.

       64.     Admitted. By way of further response, PetroChoice ceased selling Wynn’s products

in 2013.

       65.     Denied as this paragraph is a conclusion of law, not a statement of fact.

       66.     Denied as this paragraph is a conclusion of law, not a statement of fact. Plaintiff

does not refer to any specific document or information exchanged by Plaintiff and Wynn’s or what

about the information constitutes a trade secret. This paragraph is based only upon Plaintiff’s own

self serving affidavit that lacks any specificity about the information purportedly exchanged.

       67.     Denied as this paragraph is a conclusion of law, not a statement of fact. Plaintiff

does not refer to any specific document or information exchanged by Plaintiff and Valvoline or

what about the information constitutes a trade secret. This paragraph is based only upon Plaintiff’s

own self-serving affidavit that lacks any specificity about the information purportedly exchanged.

       68.     It is admitted only that such information was on the PetroChoice system. It is denied

that such information constitutes confidential information. See Doc. No. 33, ¶93.

       69.     Denied as this paragraph is a conclusion of law, not a statement of fact. See Doc.

No. 33, ¶94.

       70.     Denied. See Doc. No. 33, ¶95.

       71.     Denied. See Doc. No. 33, ¶96.
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       72.     Denied. It is denied that PetroChoice was not aware that Defendant had a username,

password, and access to Microsoft 365 as part of PetroChoice’s initiative to move away from

Citrix. In fact, PetroChoice employees emailed Defendant through the Microsoft 365 platform

during the course of his consulting term and Defendant responded to such emails through the same

platform. See Doc. No. 33, ¶97.

       73.     Denied. See Doc. No. 33, ¶98.

       74.     Denied. To the contrary, PetroChoice employee Josh Shoenberger informed Defendant

that he was authorized to access the Microsoft 365 platform as a consultant, which included access to

the email server and PetroChoice files. See Doc. No. 33, ¶99; see also Dep. Tr. Orobono p. 235: 8-21.

       75.     Denied. See Doc. No. 33, ¶100.

       76.     Admitted in part, denied in part. It is admitted that Defendant did access PetroChoice’s

system on multiple occasions in August of 2019. Defendant cannot admit or deny such dates. It is

denied that Defendant accessed PetroChoice’s system without authorization. See Doc. No. 33, ¶101.

       77.     Denied. Defendant conducted said download in order to secure his own personal

information and files contained on the PetroChoice network after requesting assistance with same

from multiple PetroChoice employees. See Doc. No. 33, ¶102.

       78.     Denied as this is a conclusion of law, not a statement of fact. The files downloaded

by Defendant are documents that speak for themselves.

       79.     Denied as this is a conclusion of law, not a statement of fact. By way of further

response, this averment lacks documentary support and thus is denied.

       80.     Denied as this is a conclusion of law, not a statement of fact. By way of further

response, this averment lacks documentary support and thus is denied.
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       81.     Admitted in part, denied in part. Defendant admits that he utilized his PetroChoice

issued username and password to log into PetroChoice’s network in August of 2019. Defendant cannot

confirm the dates of same. See Doc. No. 33, ¶106.

       82.     Denied. To the contrary, there is no evidence of record that Defendant made any

attempt to target PetroChoice’s chemical customers on behalf of JWT or directed any other JWT

employee to target PetroChoice customers. See Doc. No. 33, ¶138. See Dep. Tr. Fran Orobono p.

229: 21-24 (“I was not involved in soliciting customers. I really wouldn’t know how to do that. I

wasn’t involved in meetings with Ed Yates or anything like that.”).

       83.     It is denied that Defendant wrongfully accessed Plaintiff’s systems. To the contrary,

during the course of his employment and during the time Orobono acted as a consultant,

PetroChoice allowed Orobono access to its computer system, first through Citrix and subsequently

through Microsoft 365. Dep. Tr. Orobono p. 235: 8-21. It is admitted that the Kennedy Group

ended its chemical supply account with PetroChoice. It is denied that it did so to purchase products

from JWT. To the contrary, Ed Yates, prior to accepting employment with JWT, solicited

PetroChoice’s customer, the Kennedy Group to transfer their business from PetroChoice to the

Wynn’s line of automotive chemicals. Dep. Tr. Orobono p. 225-227. Mr. Yates has a long standing

relationship with Scott Wister, who is the Director of Dealership Services for the Kennedy Group.

Id.

       84.     Admitted.

       85.     Denied, this is not an accurate representation of Defendant’s role at JWT.

       86.     Denied. It is denied that Defendant utilized any PetroChoice documents or

information for any purpose outside of his employment or consulting relationship with

PetroChoice. It is further denied that Defendant utilized any PetroChoice information to initiate a

business relationship on JWT’s behalf with Wynn’s chemicals. See Doc. No. 33, ¶109. See also
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Response to Interrogatory No. 9 (“After the cessation of Defendant’s Independent Contractor

Term with PetroChoice, Defendant has not utilized any of PetroChoice’s Proprietary Information

for any purpose.”).It is further denied that Defendant initiated a business relationship on JWT’s

behalf with Wynn’s chemicals. Dep. Tr. Scott Williams p. 29:8-23.

       87.    It is admitted only that Wynn’s is a competitor of Valvoline. See Doc. No. 33, ¶110.

       88.    Denied as there is a lack of support in the record for this contention other than from

Mr. Walker, who is not an employee of or affiliated with JWT.

       89.    Denied as there is a lack of support in the record for this contention other than from

Mr. Walker, who is not an employee of or affiliated with JWT.

       90.    Denied. The statement of fact is denied. To the contrary, the evidence in this matter

demonstrates that Mr. Orobono did not solicit for sale or sell any automotive chemicals to the

Kennedy Group. More specifically, Ed Yates, prior to accepting employment with JWT, solicited

PetroChoice’s customer, the Kennedy Group to transfer its business from PetroChoice to the

Wynn’s line of automotive chemicals. See Dep. Tr. Scott Williams, p. 25:14-24; p. 29:2-7; Dep.

Tr. Orobono p. 223; p. 225:6-227:1.

       91.    It is denied that Defendant caused PetroChoice to lose the Kennedy Group as a

customer. To the contrary, Ed Yates, prior to accepting employment with JWT, solicited

PetroChoice’s customer, the Kennedy Group to transfer their business from PetroChoice to the

Wynn’s line of automotive chemicals. Dep. Tr. Orobono p. 225-227. Mr. Yates has a long standing

relationship with Scott Wister, who is the Director of Dealership Services for the Kennedy Group.

Id.

       92.    Denied as this paragraph contains a conclusion of law, not a statement of fact.
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       93.     Denied. By way of further response, See Defendants Response in Opposition to

Plaintiff’s Motion for Sanctions, which is incorporated herein by reference.

       94.     Denied. See Doc. No. 33, ¶119.

       95.     It is denied that Defendant has utilized any information downloaded or accessed

from PetroChoice. See Doc. No. 33, ¶120; see also Defendant’s Response to Interrogatory No. 9

(“After the cessation of Defendant’s Independent Contractor Term with PetroChoice, Defendant

has not utilized any of PetroChoice’s Proprietary Information for any purpose.”).

       96.     It is denied that the testimony cited by Plaintiff supports the averment in this

paragraph. Defendant is unable to confirm or deny this averment.

       97.     Denied as this paragraph is a conclusion of law, not a statement of fact. By way of

further response, Plaintiff and JWT entered into a confidential agreement, to which Defendant

does not have access, wherein JWT’s participation in this industry is addressed.

       98.     Denied as this paragraph is a conclusion of law, not a statement of fact. By way of

further response, it is denied that Defendant has led a competitive endeavor against Plaintiff. See

Doc. No. 33, ¶138. See Dep. Tr. Fran Orobono p. 229: 21-24 (“I was not involved in soliciting

customers. I really wouldn’t know how to do that. I wasn’t involved in meetings with Ed Yates or

anything like that.”).

       99.     Admitted in part, denied in part. It is admitted that Defendant remains employed by

JWT as Vice President of Wholesale. It is denied that Defendant remains in possession of any

PetroChoice’s documents. Plaintiff’s averment that any documents constitute trade secrets is

denied as a conclusion of law. See Doc. No. 33, ¶109. See also Response to Interrogatory No. 9

(“After the cessation of Defendant’s Independent Contractor Term with PetroChoice, Defendant

has not utilized any of PetroChoice’s Proprietary Information for any purpose.”).It is further
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denied that Defendant initiated a business relationship on JWT’s behalf with Wynn’s chemicals.

Dep. Tr. Scott Williams p. 29:8-23.

                                      LAMB McERLANE PC

 June 29, 2021                  BY: s/Mary-Ellen H. Allen
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